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                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION

IN RE:                                                              Case No:       13-32515-BJH-13
Betty Ruth Artis                                                    DATED:         5/11/2013
                                                                    Chapter:       13
Debtor(s)                                                           EIN:
Attorney Phone No:     (972) 256-4444                               Judge:


                               DEBTOR'S(S') CHAPTER 13 PLAN AND MOTION FOR VALUATION
                                                      SECTION I
                                 DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                               FORM REVISED 11-4-2012
This Plan contains non-standard provisions in Section IV (last page):       yes       no

A.   DEBTOR PAYMENTS           DEBTOR(S) PROPOSES TO PAY TO THE TRUSTEE THE SUM OF:
                               MONTHS 1 TO 60                      $393.00 PER MONTH

                               FOR A TOTAL OF         $23,580.00        ("BASE AMOUNT").                 .
                               FIRST PAYMENT IS DUE           6/10/2013        .
                               THE ESTIMATED UNSECURED CREDITORS POOL IS
                                                   calculated as:                   (Disposable
                               income per § 1325(b)(2)) x      60 months      (Applicable
                               Commitment Period per § 1325(b)(4)), but not less than
                               Debtor's equity in non-exempt property:       $0.00
                               pursuant to § 1325(a)(4).

B.   ADMINISTRATIVE AND DSO CLAIMS:
     1.   CLERK'S FILING FEE: Total filing fees paid through the plan, if any, are          $0.00        and shall be paid in full
          prior to disbursements to any other creditor.

     2.   TRUSTEE FEES AND NOTICING FEES: Trustee fees and any noticing fees shall be paid first out of each disbursement
          and as provided in General Order 2010-01.
     3.   DOMESTIC SUPPORT OBLIGATIONS: Prior to discharge, Debtor will pay all post-petition Domestic Support Obligations
          (as defined in § 101(14A)) directly to the holder(s) of such obligation(s), unless payment through the Plan as hereinafter
          provided is agreed to in writing by the respective holder(s) of the claim(s) or their agent(s). Pre-petition Domestic
          Support Obligations per Schedule "E" shall be paid the following monthly payments:

                    DSO CLAIMANT(S)                          SCHEDULED AMOUNT(S)              TERM (APPROXIMATE)           TREATMENT

C.   ATTORNEY FEES: TO        Law Office Of Richard D. Kinkade   , TOTAL:  $3,500.00  ;
          $0.00     PRE-PETITION;      $3,500.00     THROUGH TRUSTEE. PRE-CONFIRMATION PAYMENTS TO
     DEBTOR'S ATTORNEY WILL BE PER THE AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS. POST-
     CONFIRMATION PAYMENTS TO DEBTOR'S ATTORNEY WILL BE MADE FROM FUNDS REMAINING AFTER PAYMENT
     OF ADMINISTRATIVE AND DSO CLAIMS AS PROVIDED ABOVE ('B') AND EACH SPECIFIED MONTHLY PLAN PAYMENT
     TO SECURED CREDITORS ('D' AND/OR 'E' BELOW) BEFORE ANY PAYMENT TO PRIORITY CREDITORS ('H' BELOW)
     OR UNSECURED CREDITORS ('I' AND 'J' BELOW).

D.   HOME MORTGAGE ARREARAGE:

                MORTGAGEE                         SCHED.             DATE               %      TERM (APPROXIMATE)          TREATMENT
                                                 ARR. AMT       ARR. THROUGH
Ocwen Loan Servicing, LLC                         $17,683.64        5/1/2013          0.00%         Month(s) 1-60                    Pro-Rata

If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will be reinstated according to its original terms, extinguishing any right of the Mortgagee or its
assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.
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E.(1) SECURED CREDITORS--PAID BY THE TRUSTEE

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

E.(2)(a) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--NO CRAM DOWN:

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

E.(2)(b) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--CRAM DOWN:

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

TO THE EXTENT THE VALUE AMOUNT IN E.(2)(b) IS LESS THAN THE SCHEDULED AMOUNT IN E.(2)(b), THE CREDITOR
SHALL HAVE THE OPTION OF REQUIRING THE DEBTOR TO SURRENDER THE COLLATERAL BY OBJECTING TO THE
PROPOSED TREATMENT.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN PARAGRAPH E.(2)(b) THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR(S) LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED THEIR RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

THE VALUATION OF COLLATERAL AND INTEREST RATE TO BE PAID ON THE ABOVE SCHEDULED CLAIMS IN E(1) AND
E(2)(a) AND (b) WILL BE FINALLY DETERMINED AT CONFIRMATION. THE CLAIM AMOUNT WILL BE DETERMINED
BASED ON A TIMELY FILED PROOF OF CLAIM AND THE TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS
("TRCC".)

EXCEPT FOR "VALUATION" AND "INTEREST RATE," CONFIRMATION HEREOF SHALL BE WITHOUT PREJUDICE TO THE
DEBTOR'S, THE TRUSTEE'S, OR ANY SECURED CREDITOR'S RIGHT TO A LATER DETERMINATION OF THE ALLOWED
AMOUNT OF ANY CREDITOR'S SECURED CLAIM. TO THE EXTENT SUCH CLAIM IS ALLOWED FOR AN AMOUNT
GREATER OR LESSER THAN THE "SCHEDULED AMOUNT" PROVIDED FOR ABOVE, AFTER THE TRCC IS FINAL,
DEBTOR WILL MODIFY THE PLAN TO FULLY PROVIDE FOR SUCH ALLOWED SECURED CLAIM.

F.   SECURED CREDITORS--COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                   SCHED. AMT.          VALUE                   TREATMENT
                           COLLATERAL

The Automatic Stay will terminate as to Collateral listed in this paragraph F. upon filing hereof but nothing in this Plan shall be
deemed to abrogate any applicable non-bankruptcy law contract rights of the Debtor(s).
G. SECURED CREDITORS--PAID DIRECT BY DEBTOR

                            CREDITOR /                                   SCHED. AMT.          VALUE                   TREATMENT
                           COLLATERAL
Dallas County                                                                $1,579.70         $66,210.00 Paid through escrow
Homestead
Ford Motor Credit                                                           $40,000.00         $39,000.00 Direct Pay
2013 Ford Edge
Ocwen Loan Servicing, LLC                                                   $54,589.97         $66,210.00 Direct Pay
Homestead


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H.   PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                                CREDITOR                      SCHED. AMT.   TERM (APPROXIMATE)   TREATMENT

I.   SPECIAL CLASS:

                              CREDITOR /                      SCHED. AMT.   TERM (APPROXIMATE)   TREATMENT
                             JUSTIFICATION

J.   UNSECURED CREDITORS

                        CREDITOR             SCHED. AMT.                         COMMENT
American Express                                $1,089.48
American Radiology Assoc                           $86.94
AT&T                                              $315.61
Bank of America                                 $3,451.91
Baylor All Saints Med Ctr.                        $450.00
Baylor All Saints Med Ctr.                        $827.59
Baylor Medical Center at Irving                 $5,911.31
Capital One                                       $449.49
Capital One                                       $766.33
Capital One                                       $178.64
Capital One                                     $1,417.30
Citibank                                        $1,047.99
Citibank                                        $1,922.00
CitiCards                                       $1,047.99
Clinical Pathology Laboratories                   $135.38
Convergent Outsourcing                                $0.00
Darrell Thigpen, MD                               $437.00
Dermatology Treatment                              $73.79
Emergency Care Association                         $72.14
Fingerhut Corp.                                   $129.26
GEMB / Dillards                                   $282.00
GEMB / Dillards                                 $3,290.00
Gerald Bulloch, MD                                $245.22
HSBC                                              $284.41
JC Penney                                       $1,072.16
Juliette Wait, MD                                 $440.00
Linebarger, Goggan, et al                             $0.00
Lowes                                           $1,116.00
LVNV Funding, LLC                               $4,504.04
MDM Medical                                       $245.22
Medical City Hospital                             $889.00
Medical Clinic of N. Texas PA                     $150.42
Medical Edge Health Care                          $217.71
Methodist Charlton Medical Center               $1,201.00
Methodist Health System                         $1,014.23
Mobil c/o GECC Acdv/Cdv Process                   $200.99

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New York Life                                     $26,000.00
North Texas Cardiovasular Assoc                     $885.58
Pacific Pulmonary Services                          $314.26
Pacific Pulmonary Services                            $62.86
Providian                                          $7,585.94
Redbird Endoscopy Center                            $585.00
Shell / Citibank SD                                 $685.00
Southwestern Bell                                  $2,545.29
US Bank                                           $12,818.90
UT Southwestern                                       $48.36
Walter Young, MD                                    $177.00
Wheatland Inpatient Svcs                            $101.24
William T. Neary                                         $0.00
Wolpoff and Abramson, LLP                                $0.00
TOTAL SCHEDULED UNSECURED:                        $86,771.98
UNSECURED CREDITORS ARE NOT GUARANTEED A DIVIDEND WHEN A PLAN IS CONFIRMED, SEE GENERAL ORDER
2010-01. ALLOWED GENERAL UNSECURED CLAIMS MAY RECEIVE A PRO-RATA SHARE OF THE UNSECURED
CREDITORS' POOL, BUT NOT LESS THAN THE SECTION 1325(a)(4) AMOUNT SHOWN IN SECTION I "A" ABOVE LESS
ALLOWED ADMINISTRATIVE AND PRIORITY CLAIMS, AFTER THE TRCC BECOMES FINAL. A PROOF OF CLAIM MUST BE
TIMELY FILED TO BE ALLOWED.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                   § 365 PARTY           ASSUME/REJECT      CURE AMOUNT   TERM (APPROXIMATE)   TREATMENT

L.   CLAIMS TO BE PAID:

'TERM (APPROXIMATE)' SHOWN HEREIN GIVES THE ESTIMATED NUMBER OF MONTHS FROM THE PETITION DATE REQUIRED
TO FULLY PAY THE ALLOWED CLAIM. IF ADEQUATE PROTECTION PAYMENTS HAVE BEEN AUTHORIZED AND MADE, THEY
WILL BE APPLIED TO PRINCIPAL AS TO UNDER-SECURED CLAIMS AND ALLOCATED BETWEEN INTEREST AND PRINCIPAL
AS TO OVER-SECURED CLAIMS. PAYMENT PURSUANT TO THIS PLAN WILL ONLY BE MADE TO SECURED,
ADMINISTRATIVE, PRIORITY AND UNSECURED CLAIMS THAT HAVE BEEN ALLOWED OR THAT THE DEBTOR HAS
AUTHORIZED IN AN ADEQUATE PROTECTION AUTHORIZATION. GENERAL UNSECURED CLAIMS WILL NOT RECEIVE ANY
PAYMENT UNTIL AFTER THE TRCC BECOMES FINAL.

THE "SCHED. AMT." SHOWN IN THIS PLAN SHALL NOT DETERMINE THE "ALLOWED AMOUNT" OF ANY CLAIM.


M. ADDITIONAL PLAN PROVISIONS:

SEE SECTION IV ON LAST PAGE FOR ADDITIONAL PLAN PROVISIONS, IF ANY.




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                                                       SECTION II
                                   DEBTOR'S(S') CHAPTER 13 PLAN--GENERAL PROVISIONS
                                                 FORM REVISED 11-4-2012

A.   SUBMISSION OF DISPOSABLE INCOME

Debtor(s) hereby submits such portion of future earnings or other future income as herein provided to the supervision and
control of the Trustee as necessary for the execution of the Plan as herein provided.

Debtor proposes to PAY TO THE TRUSTEE the Base Amount indicated in Section I, Part "A" hereof. If applicable, cause exists
for payment over a period of more than three (3) years.

If the Plan does not pay 100% to all creditors, the Base Amount shall not be less than the sum of the allowed administrative
expenses plus the allowed priority and secured claims (with interest if applicable) plus the greater of the unsecured creditors'
pool, or the 11 USC 1325(a)(4) amount (Best Interest Test).
Payment of any claim against the Debtor may be made from the property of the estate or property of the Debtor(s), as herein
provided.

B.   ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY FEES AND NOTICING FEES
The Administrative Expenses of the Trustee shall be paid in full pursuant to 11 U.S.C. Sec 105(a), 503(b), 1326(b)(2), and 28
U.S.C. Sec 586(e)(1)(B). The Trustee's Fees & Expenses, not to exceed ten percent (10%) allowed pursuant to 28 U.S.C. Sec
586(e)(1)(B), shall be deducted from each payment. Additionally, the Trustee is authorized to charge and collect Noticing Fees
as indicated in Section I, Part "B" hereof, pursuant to local rule. No Trustee fee will be collected on Noticing Fees.

Debtor will pay in full all Domestic Support Obligations that are due before discharge, including section 507(a)(1) Priority claims
due before the petition was filed, but only to the extent provided for in this Plan.

C.   ATTORNEY FEES
Debtor's(s') Attorney Fees totaling the amount indicated in Section I Part "C", shall be paid by the Trustee in the amount shown
as "through Trustee", pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection Disbursements.

D.   PRINCIPAL RESIDENCE ARREARAGES (HOME MORTGAGE)

Arrearage on claims secured only by a security interest in the Debtor's(s') principal residence shall be paid by the Trustee in the
allowed pre-petition arrearage amount, and at the Annual Percentage rate of interest indicated in Section I, Part "D" herein. To
the extent interest is provided, interest will be calculated from the date of the Petition. The principal balance owing upon
confirmation of the Plan on the allowed pre-petition arrearage amount shall be reduced by the total of adequate protection paid
less any interest (if applicable) made to the respective creditor by the Trustee. Unless otherwise provided, post-petition
payments may be paid "Direct" by Debtor(s), beginning with the first payment due after the 'ARR. THROUGH' date in Section I,
Part "D". Such creditors shall retain their liens. To the extent an arrearage claim is allowed in an amount in excess of the
Sched. Arr. Amt., the Debtor will promptly Modify the Plan to provide for full payment of the allowed amount, or for surrender of the
collateral, at Debtor's election. If Debtor elects to surrender the collateral, the creditor may retain all pre-surrender payments
received pursuant hereto.

If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will thereupon be reinstated according to its original terms, extinguishing any right of the
Mortgagee or its assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1)    SECURED CLAIMS TO BE PAID BY TRUSTEE

The claims listed in Section I, Part "E(1)" shall be paid by the Trustee as "SECURED" to the extent of the lesser of the Claim
Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral, which will
be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as unsecured
as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the collateral
described in Section I, Part "E(1)" until the earlier of the payment of the underlying debt determined under non-bankruptcy law or
discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the date of confirmation
hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the amount by which the claim
is over-secured. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by
the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.




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E.(2)(a) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN
Claims in Section I, Part "E(2)(a)" are either debts incurred within 910 days of the Petition date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor or debts incurred within one year of the petition
date secured by any other thing of value.

The claims listed in Section I, Part "E(2)(a)" shall be paid by the Trustee as "SECURED" to the extent of the "ALLOWED
AMOUNT" (per timely filed Proof of Claim not objected to by a party in interest.) Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(a)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of the Petition. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced
by the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.

E.(2)(b) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--CRAM DOWN

The claims listed in Section I, Part "E(2)(b)" shall be paid by the Trustee as "SECURED" to the extent of the LESSER OF the
Claim Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral,
which will be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as
unsecured as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(b)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of confirmation hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the
amount by which the claim is over-secured.

IF THE "VALUE" SHOWN IN "E(2)(b)" ABOVE IS LESS THAN THE "SCHED. AMT." SHOWN, THE "ALLOWED AMOUNT" OF
THE SECURED PORTION OF THE CLAIM SHALL NOT EXCEED THE "VALUE" DETERMINED AT CONFIRMATION.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN THIS PARAGRAPH, THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED ITS RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

To the extent a secured claim NOT provided for in Section I Part "D", "E(1)" or "E(2)" is allowed by the Court, Debtor(s) will pay the
claim 'DIRECT' per the contract.

Each secured claim shall constitute a separate class.

F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL
The claims listed in Section I, Part "F" shall be satisfied as 'SECURED' to the extent of the VALUE of the collateral, as shown, by
SURRENDER of the collateral by the Debtor(s) on or before Confirmation. Any amount claimed in excess of the value of the
collateral as shown, to the extent it is allowed, shall be automatically "split" and treated as indicated in Section I, Part "H" or "J"
per 11 U.S.C. Sec 506(a).

Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S)
All secured claims listed in Section I, Part "G" shall be paid 'DIRECT' by the Debtor(s) in accordance with the terms of their
agreement, unless otherwise provided in Section IV.

Each secured claim shall constitute a separate class.




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H.   PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS
All allowed claims (i.e., those for which a Proof of Claim is timely filed and not objected to by a party in interest) entitled to priority
under Section 507(a) of the Bankruptcy Code, other than Section 507(a)(1) Domestic Support Obligations, will be paid in full
(except as provided in Section 1322(a)(4)) in deferred installments, unless the holder of such claim agrees to a different
treatment of such claim. Failure to object to confirmation of this Plan shall not be deemed "acceptance" of the "SCHED AMT."
shown in Section I Part "H" hereof. The claims listed in Section I, Part "H" shall be paid their allowed amount by the Trustee in
full as Priority without interest at the monthly amount indicated or pro rata.

Priority claims for taxes are unsecured and shall not accrue interest or penalty subsequent to the filing, and such interest or
penalty as might otherwise accrue thereafter shall be discharged upon completion of the Plan.

I.   CLASSIFIED UNSECURED CLAIMS

Classified unsecured claims shall be treated as allowed by the Court.
J.   GENERAL UNSECURED CLAIMS TIMELY FILED

All other claims not otherwise provided for herein shall be designated general unsecured claims. Payments, if any, to general
unsecured claims will be on a pro rata basis. All allowed general unsecured claims shall be paid in an amount under the Plan
which is not less than the amount that would be paid on such claims if the estate of the Debtor(s) were liquidated under
Chapter 7 of the Bankruptcy Code on the date of filing of the Petition herein.

Any delinquencies under the Plan on allowed secured claims, allowed priority claims and allowed classified unsecured claims
must be brought current before any payments are made on general unsecured claims.

General unsecured claims may be paid concurrently with secured, priority and classified unsecured claims so long as each
secured, priority, and classified unsecured creditor is receiving not less than its monthly installment as provided herein. If the
indicated monthly amount is insufficient to fully pay the monthly payment provided for such allowed secured, priority or classified
unsecured claim(s) respectively, the Trustee shall pay in the following order: each classification of such allowed secured
claim(s), priority claim(s) and classified unsecured claim(s) pro rata until all such payments within each subclass are current,
prior to any other payments to allowed general unsecured claims.

General unsecured claims totaling the amount indicated in Section I Part "J", shall be paid by the Trustee, a PRO RATA share of
the unsecured creditors' pool estimated in Section I, Part "A" but not less than the amount indicated pursuant to
Section 1325(a)(4) less allowed administrative and priority claims, or the estimated % (if any) shown above.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

As provided in Section 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assumes or rejects the executory contracts or unexpired
leases with the parties so indicated in Section I, Part "K".

Assumed lease and executory contract arrearage amounts shall be paid by the Trustee as indicated in Section I Part "K".

L.   CLAIMS TO BE PAID

See Section I, Part "L" of the Plan.

M. ADDITIONAL PLAN PROVISIONS
The provisions set forth in Section IV are additional Plan provisions not otherwise referred to herein.

N.   POST-PETITION CLAIMS

Claims filed under Section 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor will modify
this Plan.

O. LATE FILED CLAIMS AND CLAIMS NOT FILED
Late filed unsecured claims on pre-petition debt shall be paid pro rata, only after all other timely filed unsecured claims are paid
in full. Such payment shall be before any payment on pre-petition non-pecuniary penalties. Late filed claims on priority pre-
petition claims shall be paid in full before any payment on late filed general unsecured pre-petition claims. Late filed secured
claims shall be paid in full before any payment on late filed priority claims.

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.


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Debtor(s):     Betty Ruth Artis


P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR PUNITIVE
     DAMAGES

Any unsecured claim for non-pecuniary penalty, fines, forfeitures, multiple, exemplary or punitive damages, expressly including
IRS penalty to date of petition on unsecured and/or priority claims, shall be paid only a pro rata share of any funds remaining
after all other unsecured claims including late filed claims, shall have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R.   BUSINESS CASE OPERATING REPORTS
Upon confirmation, business debtors are no longer required to file operating reports with the Trustee, unless the Trustee
requests otherwise. However, a final operating report through the date of confirmation is required if operating reports were
previously required. Confirmation hereof shall terminate the Trustee's duties to investigate or monitor the debtor's business
affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRECONFIRMATION OPERATIONS

The Trustee shall not be liable for any claim arising from the post-confirmation operation of Debtor's business. Any claims
against the Trustee arising from the pre-confirmation operation of the Debtor's business must be filed with the Bankruptcy Court
within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation hereof, or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY AND TRUSTEE PAYMENTS UPON POST CONFIRMATION
     CONVERSION OR DISMISSAL

Debtor shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior to
discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

Upon conversion or dismissal of the case post confirmation, the Trustee shall disburse all funds on hand in accordance with
this Plan.

U.   ORDER OF PAYMENT

All claims shown in Section I, will be paid in the following order from each disbursement, to the extent allowed:
     1st --    Administrative Fees and DSO claims in "B"
     2nd --    Assumed lease and executory contract arrearage claims in "K"
     3rd --    Specified monthly dollar amounts to secured claims in "D", "E(1)", and "E(2)"
     4th --    Pro-rata among attorney fees in "C"
     5th --    Pro-rata among secured claims in "D", "E(1)" and "E(2)"
     6th --    Specified monthly dollar amounts to priority claims in "H"
     7th --    Pro-rata among priority claims in "H"
     8th --    Specified monthly dollar amounts to special class claims in "I"
     9th --    Pro-rata among special class claims in "I"
     10th --   Pro-rata among claims in "J" other than late filed and penalty claims
     11th --   Pro-rata among late filed priority claims in "H"
     12th --   Pro-rata among late filed general unsecured claims in "J"
     13th --   Pro-rata among penalty claims in "J".




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V.   TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE
Pursuant to General Order 2010-01, Paragraph 8, as soon as practicable after the governmental claims bar date, the Trustee
shall prepare and serve on Debtor's counsel, all creditors who were scheduled, all creditors who filed claims and any party that
has filed a Notice of Appearance, a Trustee's Recommendation Concerning Claims ("TRCC") and Notice of Hearing and Pre-
Hearing Conference thereon. The TRCC may be deemed in part to be an Objection to Claims. Objections to the TRCC shall be
filed within thirty (30) days from the date of service of the TRCC. Unless an objection is timely filed as to the treatment of any
claim, the claim will be allowed or approved only as described in the TRCC, and such treatment will be binding on all parties
without further order of the court. All unresolved objections to the TRCC shall be deemed waived if not timely filed or if the
proponent of any such objection fails to attend the Trustee's Pre-Hearing Conference or give the Trustee prior written notice that
a hearing is necessary. To the extent secured and/or priority claims being paid through the Plan by the Trustee are allowed for
amounts in excess of the amounts provided for in this Plan, the Debtor(s) will promptly modify the Plan to provide for full payment
of the allowed amount. After the TRCC becomes final, should the Plan then become infeasible and/or "insufficient", the Trustee
shall be permitted to move the Court to dismiss the case for such reason.


                                                          SECTION III
                                                     MOTION FOR VALUATION
Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. Sec 506(a) and § 1325(a)(5) and for purposes of determination of
the amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby moves the Court to
value the collateral described in Section I, Part "E" and Part "F", as the LESSER of the value set forth therein, or any value
claimed on the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's
pre-hearing conference regarding Confirmation, or be deemed waived.




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                                                    SECTION IV
                                            ADDITIONAL PLAN PROVISIONS
Additional (non-standard) Plan provisions, if any, CAPITALIZED, BOLD AND UNDERSCORED ARE AS FOLLOWS:
None.
Respectfully submitted,                                 Case No.: 13-32515-BJH-13

/s/ Richard D. Kinkade
Richard D. Kinkade, Debtor's(s') Attorney

11477350
State Bar Number




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  IN RE: Betty Ruth Artis                                                        CASE NO.   13-32515-BJH-13
                                     Debtor


                                                                                 CHAPTER    13
                                   Joint Debtor

                                                  CERTIFICATE OF SERVICE


   I, the undersigned, hereby certify that on June 4, 2013, a copy of the attached Chapter 13 Plan, with any attachments,
was served on each party in interest listed below, by placing each copy in an envelope properly addressed, postage fully
prepaid in compliance with Local Rule 9013 (g).



                                 /s/ Richard D. Kinkade
                                 Richard D. Kinkade
                                 Bar ID:11477350
                                 Law Office of Richard D. Kinkade
                                 2121 W Airport Freeway
                                 Suite 400
                                 Irving, TX 75062
                                 (972) 256-4444



Academy Collection Service, Inc.              AT&T                                      Baylor Medical Center at Irving
10965 Decatur Rd.                             P.O. Box 5001                             xxxxx8839
Philadelphia, PA 19154-3210                   Carol Stream, IL 60197                    1901 N. MacArthur
                                                                                        Irving, TX 75061



Allied Interstate                             Bank of America                           Betty Ruth Artis
3000 Corporate Exchange Dr., 5th Floor        xxxxxxxxxxx3260                           736 Cresent Dr
Columbus, OH 43231                            P.O. Box 30770                            DeSoto, TX 75115
                                              Tampa, FL 33630



American Express                              Baylor All Saints Med Ctr.                Capital Management Services, LP
xxxx-xxxxxx-x2001                             PO Box 740933                             726 Exchange St., Ste. 700
PO Box 6618                                   Dallas, TX 75374                          Buffalo, NY 14210
Omaha, NE 68105



American Radiology Assoc                      Baylor All Saints Med Ctr.                Capital One
712 N Washington #101                         c/o Creditors Bankruptcy Service          P.O. Box 85617
Dalals, TX 75246                              POB 740933                                Richmond, VA 23285
                                              Dallas, TX 75374
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  IN RE: Betty Ruth Artis                                                      CASE NO.   13-32515-BJH-13
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                                                                               CHAPTER    13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE
                                                    (Continuation Sheet #1)

Capital One                                  CitiCards                               Dallas County
xxxx-xxxx-xxxx-8536                          Processing Center                       c/o Linebarger Goggan et al
P.O. Box 85617                               Des Moines, IA 50363                    2323 Bryan St., Suite 1600
Richmond, VA 23285                                                                   Dallas, Texas 75201



Capital One                                  Clinical Pathology Laboratories         Darrell Thigpen, MD
xxxx-xxxx-xxxx-8858                          xxxx4423                                1222 N Bishop Ave
P.O. Box 85617                               PO Box 141669                           Dallas, TX 75208
Richmond, VA 23285                           Austin, TX 78714-1669



Capital One                                  Convergent Outsourcing                  Dermatology Treatment
xxxx-xxxx-xxxx-3903                          800 SW 39th St.                         5310 Harvest Hill Rd #160
P.O. Box 85617                               Renton, WA 98057                        Dallas, TX 75230
Richmond, VA 23285



Cavalry Portfolio Services, LLC              ConvergentOutsourcing                   Edward Sloan & Assoc.
7 Skyline Drive, 3rd Floor                   500 SW 7th Street                       P.O. Box 788
Hawthrone, NY 10532                          Renton, WA 98055-2983                   Winnsboro, TX 75494-0788




Cavalry Portfolio Services, LLC              Credit Counsel, Inc                     Emergency Care Association
7 Skyline Drive, 3rd Floor                   1400 NE Miami Gardens Dr                c/o Prime Financial Services II
Hawthrone, NY 10532                           Miami, FL 33179                        4040 N. Central Expressway, #600
                                                                                     Dallas, TX 75204-3147



Citibank                                     Credit Systems International            Fingerhut Corp.
xxxx-xxxx-xxxx-9676                          P.O. Box 1088                           16 McLeland Rd.
701 E 60th Street N                          Arlington, TX 76004-1088                Saint Cloud, MN 56395
Sioux Fallas, SD 57104



Citibank                                     Credit Systems International            Ford Motor Credit
xxxxxxxxx1886                                1277 Country Club Ln.                   xxxx5948
PO Box 6497                                  Fort Worth, TX 76112                    P.O. Box 6275
Sioux Fallas, SD 57117                                                               Dearborn, MI 48121
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                                                                               CHAPTER    13
                              Joint Debtor

                                             CERTIFICATE OF SERVICE
                                                (Continuation Sheet #2)

GEMB / Dillards                          Juliette Wait, MD                           Marsh Law Group
P.O. Box 981471                          7777 Forest Lane, Suite B222                17220 N Boswell Blvd Suite 240E
El Paso, TX 79998-1471                   Dallas, TX 75230                            Sun City, AZ 85373




GEMB / Dillards                          Law Office of Mitchell N. Kay, P.C.         Marshall Law Group
P.O. Box 981471                          Seven Penn Plaza                            10440 N. Central Expressway
El Paso, TX 79998-1471                   New York, NY 10001                          Suite 520
                                                                                     Dalals, TX 75231



Gerald Bulloch, MD                       Leading Edge Recovery Solutions             MCM
xxl.155                                  5440 N. Cumberland Ave., Ste. 300           POB 603
PO Box 918004                            Chicago, IL 60656-1490                      Oaks, PA 19456
Dallas, TX, 75391



HSBC                                     Linebarger, Goggan, et al                   MDM Medical
xxxx-xxxx-xxxx-7278                      2323 Bryan St., Ste. 1600                   xxl.155
PO Box 60501                             Dallas, TX 75201                            9603 White Rock Trail #200
City of Inductry, CA 91716                                                           Dallas, TX 75238



Internal Revenue Service                 Lowes                                       Medical City Hospital
Centralized Insolvency                   c/o GE Money Bank                           777 Forest Ln
P.O. Box 7346                            Attn: Bankruptcy Dept.                      Dallas, TX 75230
Philadelphia, PA 19101-7346              P.O. Box 103104
                                         Roswell, GA 30076


Island National Group , LLC              LTD Financial Services, L.P.                Medical Clinic of N. Texas PA
P.O. Box 18009                           7322 Southwest Fwy., Ste. 1600              POB 99356
Huppauge, NY 11788-8809                  Houston, TX 77074                           Fort Worth, TX 76119-0356




JC Penney                                LVNV Funding, LLC                           Medical Edge Health Care
xxx-xxx-x53-2-7                          P.O. Box 10497                              c/o Credit Systems Intl., Inc.
P.O. Box 965008                          Greenville, SC 29603-0584                   1277 Country Club Ln.
Orlando, FL 32896-5008                                                               Ft. Worth, TX 76112
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  IN RE: Betty Ruth Artis                                                      CASE NO.   13-32515-BJH-13
                                    Debtor


                                                                               CHAPTER    13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                  (Continuation Sheet #3)

Methodist Charlton Medical Center            Nationwide Credit, Inc.                 Ocwen Loan Servicing, LLC
3500 W. Wheatland Rd.                        6190 Powers Ferry Rd. NW                xxx8657
Dallas, TX 75237-3460                        Atlanta, GA 30339-2917                  P.O. Box 24646
                                                                                     West Palm Beach, FL 33416-4646



Methodist Health System                      NCO Financial                           Oxford Law LLC
xxxxxxxx5792                                 P.O. Box 4935                           311 Veterans Highway, Suite 100 A
1441 N. Beckley Ave.                         Trenton, NJ 08650                       Lewittown, PA 19056
Dallas, TX 75203



Midland Credit Managment                     NCO Financial Services                  Pacific Pulmonary Services
Dept 12421                                   507 Prudential Rd.                      8131 LBJ Freeway #200
PO Box 603                                   Horsham, PA 19044                       Dallas, TX 75251
Oaks, PA 19456



Millenium Financial Group                    New York Life                           Pacific Pulmonary Services
5770 NW Expy # 102                           12201 Merit Dr. Suite 1000              4300 Stone Road Suite 800
Oklahoma City, OK 73132                      Dallas, TX 75251                        Bakersfield, CA 93313




Mobil c/o GECC Acdv/Cdv Process              North Texas Cardiovasular Assoc         Pinnacle Credit Services
2004 Bassett Ave.                            221 W Colorodo Blvd #831                P.O. Box 640
El Paso, TX 79901-1923                       Dallas, TX 75208                        Hopkins, MN 55343-0640




National Credit Adjusters                    Northland Group, Inc.                   Plaza Associates
327 W. 4th St.                               P.O. Box 390905                         370 Seventh Ave. (15th Floor)
Hutchinson, KS 67504-0550                    Minneapolis, MN 55439                   New York, NY 10001-3900




National Credit Adjusters                    Ocwen Loan Servicing, LLC               Portfolio Recovery Associates, LLC
327 W. 4th St.                               xxx8657                                 120 Corporate Blvd., Ste. 100
Hutchinson, KS 67504-0550                    P.O. Box 24646                          Norfolk, VA 23502-4962
                                             West Palm Beach, FL 33416-4646
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  IN RE: Betty Ruth Artis                                                   CASE NO.   13-32515-BJH-13
                                  Debtor


                                                                            CHAPTER    13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                  (Continuation Sheet #4)

Prime Financial Services                   Southwestern Bell                      Vision Fincial Corp
4040 N. Central Expressway, Ste. 600       PO Box 930170                          PO Box 460260
Dallas, TX 75204-3147                      Dallas, TX 75393-0179                  St Louis, MO 63146




Providian                                  T L Thompson and Assoc                 Walter Young, MD
xxxx-xxxx-xxxx-0226                        330 Oaks Trail #200                    2909 S Hampton Rd
PO Box 660490                              Garland, TX 75043                      Dallas, TX 75224
Dallas, TX 75266



Quantum Financial Services                 Thomas Powers                          Washington Mutual
929 Esperanza Ave Ste 6                    Standing Chapter 13 Trustee            xxxx-xxxx-xxxx-0226
McAllen, TX 78501                          125 E. John Carpenter Freeway, 11th    PO Box 99604
                                           Fl.                                    Dallas, TX 76096
                                           Ste. 1100
                                           Irving, TX 75062-2709

Redbird Endoscopy Center                   Transworld Systems, Inc.               Wheatland Inpatient Svcs
3107 W Camp Wisdom Rd                      8131 LBJ Freeway, Ste. 200             xxxxxxxxx5792
Dallas, TX 75237                           Dallas, TX 75251                       PO Box 37609
                                                                                  Philadelphia, PA 19101



RJM Acquisitions, LLC                      US Bank                                William T. Neary
575 Underhill Blvd., Ste. 224              P.O. Box 2846                          United States Trustee
Syosset, NY 11791                          Oshkosh, WI 54903-2846                 1100 Commerce St., Room 976
                                                                                  Dallas, TX 75242



Shell / Citibank SD                        UT Southwestern                        Wolpoff and Abramson, LLP
P.O. Box 6497                              8303 Elmbrook Drive                    702 King Farm Blvd
Sioux Fall, SD 57117-6497                  Dallas, TX 75247-4011                  Rockville, MD 20850




Sleep Centers of Texas                     Van Ru Credit Corporation
PO Box 710732                              PO Box 2751
Dallas, TX 75371                           Des Plains, IL 60017
